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                       EXHIBIT "A"
                                        Case 2:21-cv-03265 Document 1-1 Filed 04/15/21 Page 2 of 5 Page ID #:7
Electronically FILED by Sup ·or Court of California, County r         Angeles on 02/ 18/2020 03:53 PM Sherri R. Carter, Execulivl   :er/Clerk of Court, by R. Clifton,Depuly Clerk
                                                                                          20STCV06696
                                               Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley




                                         Edward Y. Lee, Esq. (SBN 171996)
                                         Matthew T. Hillix, Esq. (SBN 305924)
                                   2     LAW OFFICES OF EDWARD Y. LEE
                                         A Professional Corporation
                                   3     3731 Wilshire Blvd., Ste. 940
                                         Los Angeles, California 900 l 0
                                   4     Tel.: (213) 380-5858 / Fax: (213) 380-5860

                                   5     Attorneys for Plaintiff,
                                         ZIQING WU, an individual
                                   6
                                   7

                                   8                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                   9                      FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
                                 10

                                 11      ZIQING WU, an individual,
                                                                                                             ):::;~::::=G:::R
                                                                                                             l
                                12
                                                         Plaintiff,
                                                                                                                 NEGLIGENCE
                                 13
                                               v.
                                                                                                                 [DAMAGES SOUGHT EXCEED $25,000]
                                 14
                                         DELTA AIRLINES, INC., a business entity of                          )
                                         unknown form; CHINA EASTERN AIRLINES                                ) (JURY TRIAL DEMANDED]
                                 15
                                         CO., LTD., a business entity of unknown form;                       )
                                 16      and DOES 1 to 50, inclusive;                                        )
                                                                                                             )
                                                         Defendants.                                         )
                                 17
                                 18      Plaintiff, ZIQING WU, alleges the following:
                                 19                                                                THE PARTIES
                                20             1.        Plaintiff ZIQING WU (hereinafter "Plaintiff'') is, and at all times relevant to this
                                21       complaint was, a competent adult, and an individual residing in the County of Los Angeles, State of
                                22       California.
                                23             2.        Plaintiff is informed and believes and thereon alleges that Defendant DELTA
                                24       AIRLINES, INC. (hereinafter "DELTA AIRLINES"), is a business entity of unknown form. Plaintiff
                                25       reserves the right to seek leave of court to amend this Complaint to insert the true name and capacity
                                26       of Defendant DELTA AIRLINES, INC. once the same are ascertained.
                                27             3.        Plaintiff is informed and believes and thereon alleges that Defendant CHINA
                                28       EASTERN AIRLINES CO., LTD. (hereinafter "CHINA EASTERN AIRLINES is a business entity


                                                                                                        COMPLAINT
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       EDWARD Y. LEE
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                                         of unknown form. Plaintiff reserves the right to seek leave of court to amend this Complaint to insert
                                   2     the true name and capacity of Defendant CHINA EASTERN AIRLINES once the same are
                                   3    ascertained.
                                   4              4.   The true names and capacities of defendants sued herein under California Code of Civil
                                   5    Procedure § 474 as DOES I to 50, inclusive, whether individual, a public entity, corporate, or
                                   6    otherwise, are unknown to Plaintiff, who therefore sues these defendants by such fictitious names and
                                   7    will ask leave of court to amend this complaint when the names are ascertained. Each of the
                                   8    fictitiously named defendants is responsible in some manner for the conduct alleged herein and
                                   9    proximately caused Plaintiff's damages. Plaintiff is informed and believes and thereon alleges that all
                              10        of the defendants acted in concert with each other at the time of the incident or misconduct.
                               11                 5.   Plaintiff is informed and believes and thereon alleges that at all relevant times
                              12        mentioned herein, each of the defendants was the agent and employee of each of the remaining
                              13        defendants, and in doing the things hereinafter alleged, was acting in the course and scope of such
                              14        agency and employment.
                              15
                              16                                               JURISDICTION AND VENUE
                              17              6.       This Court is the proper court pursuant to Section 395(a) of the California Code of Civil
                             18         Procedure because it is the county where some of the Defendants reside at the commencement of this
                             19         action.
                            20                7.       Plaintiff is informed and believes and thereon alleges that venue is therefore proper in
                            21         this Court.
                            22                8.       This Court has jurisdiction in this matter because the total amount of damages sought
                            23         exceeds $25,000.00 and the relief requested is within the jurisdiction of this Court.
                            24
                            25                                              FIRST CAUSE OF ACTION
                            26                                                        Negligence
                            27                                                 (Against all Defendants)
                            28


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 EDWARD Y. LEE
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                                                 9.     Plaintiff refers to paragraphs 1 through 8, above, and incorporates such paragraphs
                                    2    herein by reference as though said paragraphs were set forth in full herein.
                                    3            10.    On or about February 16, 2018, Plaintiff and his wife, Yuxing Xu purchased tickets for

                                    4    Delta Airlines flight nwnber 89 to travel to Shanghai, China. At the time of the flight, Plaintiff was

                                    5    75 years old. His wife, Yuxing Xu was 71 years old. As such, the two of them are limited in their
                                    6    ability to walk and carry bags without assistance.
                                    7            11.    On or about February 17, 2018, at approximately 6:55 p.m. local time Delta Airlines
                                  8      flight nwnber 89 landed in Shanghai, China. It was raining at the airport and the runways were wet.
                                  9              12.    At the time of landing, Plaintiff and his wife, Yuxing Xu requested assistance and
                               10        service in deplaning the aircraft.
                                11               13.   Passengers aboard the flight were being directed off the plane and onto airstairs which
                               12        led to the tannac at Shanghai Hongqiao International Airport.
                               13               14.    Despite repeated requests for assistance, Defendants and each of them failed to provide

                               14        the requested assistance including, but not limited to, assistance from Plaintiff and his wife's airplane
                               15        seat to the airstairs, assistance with Plaintiff and his wife' s carry-on luggage, and assistance
                               16        deboarding the plane.
                               17              15.     Defendants knew, or in the exercise of reasonable due care should have known, that
                               18        failing to assist Plaintiff from his seat and off the plane would pose a dangerous condition and

                               19       unreasonable risk of harm to Plaintiff in that Plaintiff, due to his physical impairment and frailty,
                               20       could not be able to safely deboard the plane unassisted.
                               21              16.     Defendants negligently failed to take steps to either assist Plaintiff or warn Plaintiff of
                               22       the dangerous condition the wet airstairs would create without proper assistance. As a result, Plaintiff
                               23       ZIQING WU slipped and fell down the airstairs thereby suffering extensive injuries and damages.
                               24              17.     As a proximate result of the carelessness, negligence, and unlawful conduct of the
                               25       defendants, and each of them as aforementioned, plaintiff suffered general damages in the amount to
                               26       be shown at trial.
                               27              18.     As a proximate result of the carelessness, negligence, and unlawful conduct of the
                               28       defendants, plaintiff suffered hospital and medical expenses in the amount to be shown at trial.



   LAW OFFICES OF                                                                      COMPLAINT
 EDWARD Y. LEE
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                                               19.     As a further proximate result of the carelessness, negligence, and unlawful conduct of

                                   2    the defendants, plainUff suffered loss of earnings and will continue to suffer loss of earning capacity

                                   3    in the amount to be shown at trial.

                                   4
                                   5                                           PRAYER FOR RELIEF
                                   6    WHEREFORE, Plaintiff prays for judgment against defendants and each of them as follows:

                                   7           1.      For compensa~ory damages, in an amount according to proof;

                                   8          2.       For general damages. in an amow1t according to proof:

                                   9
                                              ..., .   For special damages. in an amount according to proof;

                                  10          4.       For incidental damages. in an amount according to proof;

                                  11          5.       For costs incurred by Plaintiff herein:

                                  12          6.       For interest provided by law including, but not limited to, California Civil Code Section

                                  13    3291 , and
                                  14          7.       For such other and further relief as the Court may deem just and proper.

                                  15    Dated: February 18. 2020                      LAW OFFICES OF EDWARD Y. LEE,
                                                                                      A Professional Corporation
                                  16
                                  17
                                  18
                                  19
                                                                                      By:
                                                                                            ~~/4 Matthew T. Hill ix
                                                                                                 Attorneys for Plaintiff,
                                  20                                                             ZJQING WU
                                  21
                                                                                  .JURY DEMAND
                                  22
                                              Plaintiff demands a trial by jury on all issues so triable.
                                  23

                                  24
                                  25

                                  26
                                        Dated: February 18, 2020
                                                                                      A Prl·
                                                                                      LAW OFFICES OF EDWARD Y. LEE,
                                                                                             nal Corporation

                                  27                                                  By:        - C . ~-
                                                                                                 Edward Y. Lee
                                  28                                                             Allorneys.for Plaintiff.
                                                                                                 ZIQING WU

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